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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA

  DR. DOROTHY NAIRNE, et al.,

          Plaintiffs,                                Civil Action No. 3:22-cv-00178-SDD-SDJ

  v.
                                                     Chief Judge Shelly D. Dick
  NANCY LANDRY, in her official capacity
  as Secretary of State of Louisiana,
                                                     Magistrate Judge Scott D. Johnson
          Defendant.



           EX PARTE MOTION FOR LEAVE TO PARTICIPATE REMOTELY


       Pursuant to this Court’s Order at ECF No. 238, counsel for Legislative Intervenors

respectfully request leave to participate by telephone in the February 21, 2024, scheduling

conference in this action. See ECF No. 238 (Feb. 14, 2024) (ordering that counsel “may participate

by telephone upon seeking leave of Court.”) Legislative Intervenors’ counsel seeks leave to

participate by telephone given their schedules which were set prior to the February 14, 2024, Order.

Legislative Intervenors respectfully submit that their counsel’s participation by telephone will not

delay the proceedings or inhibit their full participation in this matter.

       WHEREFORE, for the foregoing reasons, counsel for Legislative Intervenors respectfully

seek leave to participate by telephone at the scheduling conference set for February 21, 2024, at

2:00 p.m. CT.
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Respectfully submitted, this the 16th day of February, 2024.

                                             Respectfully submitted,

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                                             Counsel for Legislative Intervenors,
                                             Phillip DeVillier, in his Official Capacity
                                             as Speaker of the Louisiana House of
                                             Representatives, and of Cameron Henry,
                                             in his Official Capacity as President of
                                             the Louisiana Senate



                                CERTIFICATE OF SERVICE

        I do hereby certify that on February 16, 2024, a copy of the foregoing pleading was filed
electronically with the Clerk of Court using the CM/ECF System, which will transmit a copy to
all counsel of record.

                                                   /s/ Michael W. Mengis
                                                     Michael W. Mengis




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